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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UT Brands, LLC                              )      Case No. 1:19-cv- 6599
                                            )
v.                                          )      Judge:         Hon. Andrea R. Wood
                                            )
THE PARTNERSHIPS and                        )      Magistrate:    Hon. Sunil R. Harjani
UNINCORPORATED ASSOCIATIONS                 )
IDENTIFIED ON SCHEDULE “A,”                 )
                                            )

       Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:


 Doe Store Name              Merchant ID
 103    Shrine               570b4792c277d458ff41d7b8
 108    dylantt              590bde8e0f961720633ea539
 121    sweetyngirls         5af257041cc5b717932dcf58

and hereby dismisses them from the suit without prejudice.

Dated this 27th Day of April 2020.
                                            Respectfully submitted,



                                            By:      s/David Gulbransen/
                                                   David Gulbransen
                                                   Attorney of Record

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